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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

 EUGENE VOLOKH, RUMBLE CANADA
 INC., and LOCALS TECHNOLOGY INC.,

               Plaintiffs,
                                               Civil Action No.: 1:22-cv-10195-ALC
       v.
                                               Date: January 8, 2024
 LETITIA JAMES, in her official capacity as    Time: 8:30 AM
 Attorney General of New York,                 Place: Courtroom 1306
                                               Judge: The Honorable Andrew L. Carter
               Defendant.


                 MEMORANDUM OF LAW IN SUPPORT OF
       PLAINTIFFS’ MOTION TO ENFORCE PRELIMINARY INJUNCTION


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                                         INTRODUCTION

        The State of New York is violating this Court’s February 14, 2023, injunction against en-

forcement of N.Y. Gen. Bus. Law § 394-ccc, New York’s Online Hate Speech Law. Specifically,

Defendant New York Attorney General Letitia James is investigating Plaintiff Rumble Canada

Inc. (Rumble) and five other social media networks (collectively, the Investigated Networks) with

regard to their policies and practices related to “hateful” internet content—the exact investigation

authorized by the enjoined statute. This Court must stop these and any similar future investigations

to protect the sanctity of its ruling and Plaintiffs’ free speech rights, and those of innumerable other

websites and their users.

        But for this Court’s injunction, the Online Hate Speech Law would force a multitude of

websites to create and publish a policy for when the site will remove protected speech the State

defines as “hateful.” It would also require them to create a mechanism for users to complain about

this “hateful” speech, and to respond to user complaints. In addition, the law threatens websites

with possible investigation, subpoena, and sanction. Through these mechanisms, the law chills the

speech of websites and their users and pressures websites to remove “hateful” content if they wish

to avoid the State’s watchful and intrusive eye. That led this Court to enjoin the law’s enforcement

in its entirety—including its grant of investigative authority to the New York Attorney General—

as unconstitutionally overbroad and vague on its face. Mem. and Op., ECF No. 29 at 20.

        In the wake of the October 7 Hamas attacks in Israel, Attorney General James sent the

Investigated Networks investigative letters (and publicized them in a press release). Her letters

demand answers to interrogatories and the production of documents related to the networks’

policies and practices on “hateful” speech—the exact subject of the enjoined Online Hate Speech

Law. The press release used rhetoric reminiscent of the Attorney General’s statements promoting




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passage of the Online Hate Speech Law and called for the Investigated Networks to remove and

chill users’ protected expression. Compare Verified Compl. ¶¶ 46–54 with Ortner Decl. Ex. C.

       The State’s actions inhibit the Investigated Networks’ speech and editorial discretion and

violate the plain language and meaning of this Court’s preliminary injunction order. This Court

cannot permit the Attorney General to conduct investigations—with their accompanying pressure

—to achieve the ends stated, authorized, and intended by the enjoined Online Hate Speech Law.

It must therefore issue an order consistent with its preliminary injunction to stop the Attorney

General from conducting this type of investigative or enforcement activity.

                                  FACTUAL BACKGROUND

A.     New York Adopts the Online Hate Speech Law to Pressure Websites to Remove
       Protected Speech That the State Deems “Hateful.”

       New York’s Online Hate Speech Law requires a vast array of websites1 to develop and

publish a “policy” and “reporting mechanism” for users to report "hateful” content. Mem. and Op.,

ECF No. 29 at 4. It also requires websites to provide direct responses to any person reporting

“hateful” content. See N.Y. Gen. Bus. Law § 394-ccc(2)–(3). Adopted last year, the law defines

“hateful” content as speech that may “vilify, humiliate, or incite violence against” ten protected

classes. N.Y. Gen. Bus. Law § 394-ccc(1)(a). The law also empowers the Attorney General with

investigative authority to “take proof and make a determination of the relevant facts” as necessary

to investigate violations. Id. § 394-ccc(5). Mem. and Op. at 5. The Attorney General may assess

daily fines of up to $1,000 a day for violations. Id. § 394-ccc(5).




       1
         The Online Hate Speech Law covers all “social media network[s],” defined broadly as
“service providers, which, for profit-making purposes, operate internet platforms that are
designed to enable users to share any content with other users or to make such content available
to the public” and conduct business in New York. N.Y. Gen. Bus. Law § 394-ccc(1)(b), (2).


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       The legislative sponsors and executive enforcers of the Online Hate Speech Law

emphasized that it would empower the State to investigate social media networks and demand that

networks take down speech that New York deemed “hateful.” For example, the President Pro

Tempore of the New York Senate argued that the law would allow state officials to “confront[] the

spread of misinformation and hateful ideology by finally demanding social media platforms do

more.” Ortner Decl. Ex. F, Transcript of Regular Session of New York State Senate at 5367, June

2, 2022, 1:18 PM. When signing the bill, New York Governor Kathy Hochul similarly emphasized

its reach: “[W]e’re now requiring social media networks to monitor and report hateful conduct on

their platforms.” See Verified Compl. ¶ 44. Likewise, Attorney General James, in hailing the law’s

passage, noted that “social media platforms provide an unchecked vehicle for [] dangerous and

corrosive ideas to spread” and claimed the law would allow her office to “expand our work . . . to

address this growing threat” from “dangerous and hateful platforms.” Id. ¶ 45.

B.     This Court Preliminarily Enjoined Enforcement of the Online Hate Speech Law,
       Including Its Investigative Provision.

       In February 2023, in response to the challenge of Plaintiffs Professor Eugene Volokh,

Rumble, and Locals Inc. to the Online Hate Speech Law, this Court preliminarily enjoined it,

finding it likely violated the First Amendment. Mem. and Op. at 1–2, 16, 19. The Court explained

that the Online Hate Speech Law targets protected speech across the internet and compels a vast

number of websites to speak about hate speech. Mem. and Op. at 1, 17–19. The law regulated

websites as “publishers and curators of speech,” infringing their First Amendment-protected

editorial judgment. Mem. and Op.at 17. The Court also explained that law’s prohibition of

“hateful” speech went “far beyond” a prohibition on unlawful conduct such as imminent

incitement of violence. Mem. and Op. at 15 & n. 3. Instead, the law “requires a social media

network to endorse the state’s message about ‘hateful conduct,’” id. at 9, and “could have a



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profound chilling effect on social media users and their protected freedom of expression.” Id. at

18. The law “both compels social media networks to speak about the contours of hate speech and

chills the constitutionally protected speech of social media users, without articulating a compelling

governmental interest or ensuring that the law is narrowly tailored to that goal.” Id. at 1. And the

law’s constitutional defects were “exacerbated by the indefiniteness of some of the Hateful

Conduct Law’s key terms.” Id. at 18. The State appealed this ruling, and proceedings in this Court

are stayed, but the injunction remains in effect. See State Br. Supp. Mot. Stay, ECF No. 36 at 2

(“A.G. James does not ask this Court to stay the preliminary injunction pending appeal.”).

C.     The Attorney General Violates the Preliminary Injunction by Sending Investigation
       Letters to Plaintiff Rumble and Other Social Media Networks.

       On October 12, in response to the reignited Israeli-Palestinian Conflict, the Attorney

General sent investigation letters to the six Investigated Networks, including Plaintiff Rumble.2

The letters are titled “Removing Calls for Violence on the [Investigated Networks].” Ortner Decl.,

Ex. A at 1; Ex. B at 1. They contain intrusive interrogatories and demands for documents regarding

the Investigated Networks’ policies, processes, methods, and actions with respect to “hateful

content,” Ex. C. at 1. For example, the interrogatories demand that each platform detail (1) “how

the company is identifying, removing, and blocking the re-uploading of” “hateful” content;

(2) how they respond to user reports of “hateful” content; and (3) how they are “disciplining,

suspending, and/or banning users for posting” this “hateful” content. Ortner Decl., Ex. A at 1–2;

Ex. B at 1–2; Ex. C. at 1.

       The Attorney General’s October 13 press release announcing the investigation letters went

further. It accused “social media” of being “widely used by bad actors to spread horrific material,



       2
         The Investigated Networks are: Meta (owner of Facebook), Google, X (formerly
Twitter), TikTok, Rumble, and Reddit.

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disseminate threats, and encourage violence.” Ortner Decl., Ex. C. at 1. It demanded that the

Investigated Networks explain “the steps they are taking to stop the spread of hateful content

encouraging violence against Jewish and Muslim people.” Id. And it confessed that the letters are

part and parcel of the Attorney General’s repeated “action[s] to hold social media companies

accountable and limit dangerous material from spreading online.” Id. at 2.

       On October 18, Rumble objected in writing, demanding that Attorney General James

rescind the investigation letters. Rumble’s letter argued that the investigation violated the terms of

the preliminary injunction, constituted an improper bypass of the discovery stay Defendants sought

in this case, and infringed Rumble’s First Amendment rights. Ortner Decl., Ex. D. Like the Online

Hate Speech Law’s vague terminology, the Attorney General’s references to “calls for violence,”

“other materials that may incite violence,” and “hateful” or “dangerous” content apply to a

substantial amount of protected speech. Rumble noted that failure to rescind the letters would force

Rumble to seek to enforce the preliminary injunction. Ortner Decl., Ex D at 1.

       On October 19, 2023, the Attorney General’s Office responded. Although the Office

“wholeheartedly disagree[d]” with Rumble’s analysis, it withdrew the investigation letter to

Rumble because “Rumble has already provided its content-moderation policies.” Ortner Decl., Ex.

E. However, the Office did not rescind its letters to the other Investigated Networks.

                                   STANDARD OF REVIEW

       Granting a motion to enforce requires only “a preponderance of the evidence” that a court

order has been violated. United States v. Visa U.S.A., Inc., No. 98 Civ. 7076 (BSJ), 2007 WL

1741885, at *4 (S.D.N.Y. June 15, 2007). In fact, the moving party need only ask the court to

exercise its “ability to impose a penalty or sanction . . . for noncompliance with its prior Orders,

with or without a finding of contempt or bad faith.” Espinosa ex rel. Espinosa v. Shah, 2014 WL

6865664, at *11 (S.D.N.Y. Dec. 5, 2014).


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       An injunction “must be obeyed until modified or dissolved.” Metro. Opera Ass’n, Inc. v.

Loc. 100, Hotel Emps. & Rest. Emps. Int’l Union, 239 F.3d 172, 176 (2d Cir. 2001); see

Walker v. City of Birmingham, 388 U.S. 307, 314 (1967) (holding that court orders must receive

“[]obedience” and “respect[]” and upholding contempt conviction for violation of a preliminary

injunction order); Class v. Norton, 507 F.2d 1058, 1060 (2d Cir. 1974) ( “One is bound to obey an

order issued by a court with jurisdiction over the person and subject matter unless and until that

order is reversed by appropriate judicial proceedings.”).

       When a party does not obey an injunction, the court has broad equitable powers to remedy

the violation and can take “any reasonable action to secure compliance with its orders.” In re

Tronox Inc., 855 F.3d 84, 112 (2d Cir. 2017); see also New York City Triathlon, LLC v. NYC

Triathlon Club, Inc., 704 F. Supp. 2d 305, 327 (S.D.N.Y. 2010) (granting a motion to enforce a

preliminary injunction and noting the court’s “complete power over its interlocutory orders”).

       “A motion to enforce is an appropriate procedural vehicle for parties to seek compliance

with a court order.” United States v. Visa U.S.A., Inc., 2007 WL 1741885, at *3 (S.D.N.Y. June

15, 2007) (granting a motion to enforce a preliminary injunction because the court would “not

countenance a continuing violation of its order”) (citing Pena v. New York State Div. for Youth, 708

F.2d 877 (2d Cir.1983)). Thus, courts grant motions to enforce regardless of whether there is a

finding that a party is in contempt. See generally United States v. Am. Express Co., 10-CV-4496,

2015 WL 9049915, at *1–3 (E.D.N.Y. Dec. 15, 2015) (granting a motion to enforce without

holding a party in contempt); Vassell v. Reliance Sec. Grp., PLC, 328 F. Supp. 2d 454, 462

(S.D.N.Y. 2004) (same); see also Pena, 708 F.2d at 877 (affirming grant of motion to enforce).

This is true even when the preliminary injunction order is on appeal. See Morisseau v. DLA Piper,

707 F. Supp. 2d 460, 461–62 (S.D.N.Y. 2010) (“[T]here is no inconsistency between this Court




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enforcing an order that remains in full force and effect notwithstanding [Defendants’] appeal from

that order.”); accord In re Gushlak, No. 11-MC-0218, 2012 WL 2564523 at *4 (E.D.N.Y. Jan. 30,

2012) (collecting cases).

                                            ARGUMENT

       The investigation letters violate the terms of this Court’s preliminary injunction, which

categorically enjoined all enforcement of the Online Hate Speech Law without exception—

including necessarily its grant of investigative authority to the New York Attorney General. The

order thus prevents the Attorney General from investigating social media networks’ policies and

practices related to “hateful” speech that may “vilify, humiliate, or incite violence against” Jews,

Muslims, or any other protected class—the precise subject of the Online Hate Speech Law. The

Court should therefore enforce its preliminary injunction and order the Attorney General to with-

draw her investigation letters, cease similar investigations, and refrain from future investigations

or other enforcement actions that fall directly under the scope of the Online Hate Speech Law.

This relief is necessary to prevent the State from threatening to investigate any network at any

time, chilling the protected speech of websites and their users, including Plaintiffs.

I.     The Attorney General’s Investigation Letters Violate the Letter and Spirit of this
       Court’s Preliminary Injunction Order.

       The Attorney General’s investigation letters violate the terms of this Court’s order by

demanding social media networks provide the same information targeted by the Online Hate

Speech Law. Given the Attorney General’s role as New York’s chief law enforcement officer,

these letters have an inherently coercive and chilling impact on protected internet speech. The

letters therefore violate both the letter and the spirit of the preliminary injunction order.




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          A.     The Attorney General is trying to investigate the exact information necessary
                 to enforce the enjoined Online Hate Speech Law.

          The Attorney General’s investigation letters violate the preliminary injunction because

they seek the same information required to enforce the Online Hate Speech Law from entities that

that law regulates. The statute defines hate speech, recharacterized by the State as “hateful

conduct,” to be internet content that can be said to “vilify, humiliate, or incite violence against a

group” of a protected-class status. N.Y. Gen. Bus. Law § 394-ccc(1)(a). Using this definition, the

statute requires “social media networks” to: (1) develop and publish a “clear and concise policy”

for addressing and removing “hateful” speech, id. § 394-ccc(1), (3); (2) develop and publish a

“clear and easily accessible mechanism” for users to complain about this “hateful” speech; and

(3) “provide a direct response” to complaints, see id. § 394-ccc(2), (4). The law also authorizes the

Attorney General to investigate networks’ compliance and to penalize non-compliance. Id. § 394-

ccc(5). Although the scope of this Court’s order is unambiguous that enforcement of the Online

Hate Speech Law is completely enjoined, including investigations related to networks’ policies,

reporting mechanisms, and responses to “hateful” content, the Attorney General’s letters

investigate those exact policies, practices, methods, and actions. Mem. and Op. at 20.

          For example, the Attorney General demands that the Investigated Networks “describe in

detail” their policies, practices, methods, and actions related to third-party-created content on their

sites that “may incite violence against Jewish and Muslim people.” Ortner Decl., Ex. A at 1; Ex.

B. at 1. Using similar terms, the investigation letters repeatedly seek to “take proof” in order to

“make a determination of relevant facts” about speech that “may incite violence” against groups

based on their protected class statuses (i.e., religion, ethnicity, and national origin)—the same

subject matter of the Online Hate Speech Law. N.Y. Gen. Bus. Law § 394-ccc(5). Cf. id. § 394-

ccc(1).



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       The investigation letters go further, too, demanding the exact information needed to

enforce the enjoined law. The letters, among other things, ask the Investigated Networks to

describe and provide copies of outward- and company-facing policies for: (1) determining whether

“a call[] for violence” should be removed; (2) reviewing user complaints; (3) “removing calls for

violence”; (4) removing additional copies of removed content and preventing its “re-posting”; and

(5) disciplining, suspending, or banning users who post “hateful” content. Ortner Decl., Ex. A at

1-2; Ortner Decl., Ex B at 1–2; Ortner Decl., Ex. C. at 1. Even without citing the Online Hate

Speech Law, the Attorney General’s letters improperly give it “force [and] effect,” State Opp’n

Req. Pre Mot. Hr’g., ECF No. 39 at 2, and demand everything necessary for the State to penalize

the Investigated Networks. And the Attorney General’s October 13 press release draws a clear

connection between the letters, the Online Hate Speech Law, and the State’s goal to punish or chill

protected speech, in explicitly demanding that the Investigated Networks “stop the spread of

hateful content” and “prohibit the spread of violent rhetoric.” Ortner Decl., Ex. C. at 1.

       The Attorney General’s investigation letters directly contravene this Court’s order. Even if

the State believed the injunction unclear—as it argued in its letter opposing Plaintiffs’ request for

a pre-motion conference3—it should have sought “clarification . . . as to what the [injunction]

meant.” Grasso v. Norton, 520 F.2d 27, 37–38 (2d Cir. 1975). Instead, it hastily sent the

investigation letters to the Investigated Platforms in violation of the clear terms of the preliminary

injunction. Mem. and Op. at 20. This Court should not allow New York to give “force [and] effect,”

State Opp’n Req. Pre Mot. Hr’g., ECF No. 39 at 2, to its law while the injunction remains effective.




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           State Opp’n Req. Pre Mot. Hr’g at 3.


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       B.     The Attorney General’s investigation letters and contemporaneous public
              threats of enforcement violate the express purpose of this Court’s injunction.

       This Court enjoined the Online Hate Speech Law because the possibility of future

investigation or enforcement is inherently coercive. Indeed, the Court explicitly observed that the

statute would likely have “a profound chilling effect” on the creation, posting, and publishing of a

substantial amount of protected speech. Mem. and Op. at 18 (“[T]he state’s targeting and singling

out of this type of speech for special measures certainly could make social media users wary about

the types of speech they feel free to engage in without facing consequences from the state.”). But

the Attorney General’s investigation letters impose the same First Amendment burden on protected

speech that this Court aimed to prevent with its injunction.

       The Attorney General’s letters, particularly when paired with her press release, share the

Online Hate Speech Law’s goal of pressuring social media platforms to chill and/or remove

protected speech. The letters include, for example, ten references to “removing” content, and

repeatedly seek production of policies related to “identifying,” “blocking,” or banning users

posting “hateful” content. Ortner Decl., Ex A at 1–2; Ortner Decl., Ex. B. at 1–2; Ortner Decl., Ex.

C, at 1. This Court rightly admonished the State’s efforts to adopt these types of “special measures”

because they “could make social media users wary about the types of speech they feel free to

engage in without facing consequences from the state.” Mem. and Op. at 18. The Attorney

General’s investigation letters and press release perpetuate the very chilling effect this Court’s

injunction sought to prohibit.

       That chilling effect is exacerbated by the fact that the Attorney General’s investigation

letters and press release, like the enjoined Online Hate Speech Law, use vague, overbroad, and

subjective terms and phrases—such as “calls for violence,” “dangerous,” “hateful,” “horrific,” and

“violent”—to describe disfavored content. Ortner Decl., Ex. A at 1; Ortner Decl., Ex. B. at 1;



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Ortner Decl., Ex. C at 1–2. The letters, like the statute, force all networks and users to “steer far

wider” than the State’s definition of “hateful” to avoid the potential for legal recrimination.

Grayned v. City of Rockford, 408 U.S. 104, 109 (1972). Again, this broad-based chilling effect is

precisely what the Court’s preliminary injunction is intended to prevent. Mem. and Op. at 18.

       The State claims that these letters do not chill speech because a response is voluntary. State

Opp’n Req. Pre Mot. Hr’g. at 1–2. But no “social media network” can ignore the fact that the

Attorney General is New York’s top law enforcement officer. When the Attorney General

demands disclosure of content-moderation policies, responses to interrogatories, and removal of

“hateful” content—lest her office take further action—the covered websites would be taking

substantial risks to do otherwise. Ortner Decl., Ex. A at 1–2; Ortner Decl., Ex. B at 2; Ortner Decl.,

Ex. B. at 1. The Attorney General also gave the Investigated Networks only a week to respond to

the State’s investigative demands, pressuring a response and compliance. Ortner Decl., Ex. A;

Ortner Decl., Ex. B.

       Furthermore, the Attorney General touts the investigation letters among her recent efforts

to “hold social media companies accountable and limit dangerous material.” Ortner Decl., Ex. C

at 2. This rhetoric is similar to the Attorney General’s stated justifications and uses for the Online

Hate Speech Law. See, e.g., Verified Compl. ¶ 18 (“Attorney General James said the law was

necessary because ‘social media platforms provide an unchecked vehicle for [] dangerous and

corrosive ideas to spread,’ and it would allow her office to ‘expand our work . . . to address this

growing threat’ from “dangerous and hateful platforms.”); see also Verified Compl. ¶¶ 46–54.

Enforcement of the injunction is therefore crucial to uphold this Court’s reasoning and prevent the

ongoing irreparable harm of networks’ First Amendment rights. See Elrod v. Burns, 427 U.S. 347,




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373 (1976) (“The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”).

       The State argues that enforcing the injunction would cripple its ability to conduct

investigations. State Opp’n Req. Pre Mot. Hr’g. at 3. But Plaintiffs seek to enforce this Court’s

injunction against investigations targeted at the policies, practices, methods, and actions regulated

by the Online Hate Speech Law. The State’s investigation letters cover the same territory and exert

the same pressure on editorial discretion and protected speech as the Online Hate Speech Law.

This Court should therefore grant Plaintiffs’ request to enforce the terms of the preliminary

injunction and prevent the State from continuing to disregard its order.4




       4
         Plaintiffs’ primary concern is ensuring the State’s compliance with the February 14,
2023 Order Granting Preliminary Injunction. However, this Court has the discretion to impose
additional judicial sanctions in order to “manag[e] and maintain[] order in the efficient and
expeditious administration of justice.” Flaherty v. Filardi, No. 03-CV-2167-LTS-HBP, 2009 WL
3762305, at *4 (S.D.N.Y. Nov. 10, 2009). Contempt is appropriate when the violated order “is
clear and unambiguous,” the “proof of noncompliance is clear and convincing,” and there was no
“diligent[] attempt[] to comply in a reasonable manner.” See, e.g., Paramedics Electromedicina
Comercial, Ltda v. GE Med. Sys. Info. Techs., Inc., 369 F.3d 645, 655 (2d Cir. 2004).

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II.     Plaintiffs Have Standing to Enforce the Terms of this Court’s Injunction.

        Plaintiffs are entitled to enforce the preliminary injunction against the Attorney General to

prevent further violations of its terms. First, Plaintiffs face a “reasonable expectation that the

alleged violation will recur.” Mhany Mgmt., Inc. v. Cty. Of Nassau, 819 F.3d 581 (2d Cir. 2016).

The State’s own words make this clear. According to the Attorney General’s Office, it withdrew

the Rumble investigation letter only because Rumble “already provided its content-moderation

policies.” Ortner Decl., Ex. E. But the State also continues to “wholeheartedly disagree with

[Rumble’s] analysis and the contentions in [its] letter.” Id. As a result, it did not rescind the letters

to the other Investigated Networks, and still claims authority to issue similar investigation letters

to Plaintiffs and other social media networks at any time and for any reason. Id. Indeed, the State

conspicuously did not express any intention to remove Rumble from its ongoing investigation into

the Investigated Networks in its October 19 letter. See Ortner Decl. Ex. E.

        Furthermore, the State’s selective withdrawal suggests an effort “to avoid judicial

scrutiny,” Campbell v. Greisberger, 80 F.3d 703, 706 (2d Cir. 1996), or “an attempt to avoid

judicial resolution of the controversy,” Yassky v. Kings Cnty. Democratic Cnty. Comm., 259 F.

Supp. 2d 210, 215 (E.D.N.Y. 2003). See also United States v. New York City Transit Auth., 97

F.3d 672, 676 (2d Cir. 1996) (finding that a challenge was not moot when the “the change of policy

was instituted on the eve of the lawsuit”). It is not “absolutely clear the allegedly wrongful behavior

could not reasonably be expected to recur.” Seidemann v. Bowen, 499 F.3d 119, 128 (2d Cir. 2007).

As a result, Defendant’s withdrawal of its letter to Rumble is “not the type of voluntary cessation

of challenged activity that calls for the court to stay its hand.” Yassky, 259 F. Supp. 2d at 215. In

light of the State’s continued investigation and the ongoing threat of future investigations,

Plaintiffs have standing to enforce the preliminary injunction.




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        Plaintiffs also have standing to enforce this Court’s injunction to protect others from the

investigations’ chilling effects under the First Amendment’s overbreadth doctrine, which grants

“‘an exception to ordinary standing requirements’” to allow litigants to protect the right of third

parties from substantially overbroad speech restrictions. Mem. and Op. at 16–17 (quoting Hobbs

v. Cnty. of Westchester, 397 F.3d 133, 155 (2d Cir. 2005)). When a law is overbroad, “‘all

enforcement of [it] is generally precluded.’” Mem. and Op. at 17 (quoting Am. Booksellers Found.

v. Dean, 342 F.3d 96, 104 (2d Cir. 2003)). This broad relief is necessary to prevent an overbroad

law from “inhibit[ing] the constitutionally protected speech of third parties.” Hobbs, 397 F.3d at

155. New York’s law, as well as investigations under it, “could have a profound chilling effect on

social media users and their protected freedom of expression.” Mem. and Op. at 18. This is one of

the reasons the Court enjoined all enforcement of the Online Hate Speech Law, not only as to

Plaintiffs, but in all its applications.

        In seeking to enforce the injunction to prevent third-party harm, Plaintiffs would advance

common principles of overbreadth doctrine to protect the First Amendment rights of similarly

situated third parties. Allowing the State to continue to investigate the same subject matter of the

enjoined statute against other social media networks would run counter to and fatally undercut the

overbreadth doctrine’s goal of “‘prevent[ing] the chilling of constitutionally protected conduct.’”

Mem. and Op. at 17 (quoting Farrell v. Burke, 449 F.3d 470, 499 (2d Cir. 2006)). The Attorney

General cannot be allowed to evade this Court’s order by conducting investigations, in all but

name, under the Online Hate Speech Law against other social media networks. Even if Plaintiffs

were not subject to the threat of possible future investigation—which they are—or no longer had

an interest in their users’ speech on their respective networks—which they certainly do— they

nevertheless have standing to protect others’ speech from the chilling effect of the State’s




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investigations. The Court may therefore grant Plaintiffs’ motion to enforce the injunction to protect

all parties who are or may be subject to the Online Hate Speech Law’s requirements, investigation,

and enforcement.

                                         CONCLUSION

       This Court should grant Plaintiffs’ motion to enforce the preliminary injunction.

DATED: December 1, 2023




Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       Plaintiffs’ counsel confirms that a true and correct copy of the foregoing was served via

the Court’s electronic filing system on this day, December 1, 2023. Notice of this filing will be

sent by operation of the Court’s electronic filing system.


DATED: December 1, 2023

Respectfully submitted,

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